Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 1 of 14




               Exhibit B
                   Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 2 of 14

                                                        Incident Report
                                         LACKAWANNA COUNTY DISTRICT ATTORNEY'S OF
                                                      415 SPRUCE ST
                                                   SCRANTON, PA 18503

                                            Phone: (570)963-6717   Fax: (570)963-6587
                                                                     Municipality      LACKAWANNA COUNTY DA (1)
                                                                     Report Type       INCIDENT
                 Incident #                     Reference #
                                                                     Location
       20140508M0131               I     I      14-9533
                                                                     Landmark
                                                                     Premise
               Title              18
Criminal       Section        .   3921                               Point of Entry
 Code          Sub-Section :      A                                  Meth. of Entry
               Description    :   THEFT BY UNLAWFUL TAKING OR        Patrol Zone               Grid
                                  DISPOSITION                        Reported          05/06/2014 @ 14:00 (Tues)
                                                                     Discovered
    0619       THEFT-$200 AND OVER-ALL OTHER
                                                                     Last Secure
                                                                     Received          09:00          Dispatched
                                                                     Arrived                          Cleared
                                                                     Status
                                                                     Disposition
                                                                     Clear Date
                                                                     Badge             2- DET. LISA BAUER




Investlgatlng Officer                            Date              Approving Officer                               Date

LACKAWANNA COUNTY DISTRICT ATTORNEYS OFFI(
Printed by: USA BAUER (05/08/2014)
                Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 3 of 14
 2'd140O ~~It0131 ~          14-9533                                                   0619 - THEFT-$200 AND OVER-ALL OTHER



MED - DEV CORPORATION (1992)                                  Arrest Date:                     Disposition Date:
Role                     Incident Classification                                 How Charged           Disposition
VICTIM                   0619 THEFT-$200 AND OVER-ALL OTHER




Alias
Age-DOB        -/I                   Height
Race                                 Weight        0     Home Addr 50 ALBERIGI DRIVE
Sex                                   Hair                           SUITE 106
Ethnicity                             Eyes                           JESSUP, PA 18434
Marital Stat                          Build              Home Ph #
Residency                             Complex.           Work Ph #
SSN                                                      Cell Ph #
Gang                                                     E-Mail                                                      No Photo
Tattoo
Clothing                                                 Employer
GBM Id
-Entered    II
-Released I I                                            Occ u pation
                                                               P
OLN/State /                                              Addl Addr None
Injury




Comment Contact person - Thomas J. Finley - ( 570)383-6772
MARTIN, MICHAEL                                               Arrest Date:                     Dispos ition Date:
 Role                    Incident Classification                                 How Charged           Disposition
 SUSPECT                 0819 THEFT-$200 AND OVER-ALL OTHER




Alias
Age-DOB      63.07/20/1950            Height
Race         WHITE                    Weight    0        Home Addr 49478 MID SURREY SQUARE
Sex          MALE                     Hair     BROWN               STERLING, VA 20165
Ethnicity    NON-HISPANIC             Eyes     BLUE
Marital Stat UNKNOWN                  Build    LARGE     Home Ph #
Residency Non-Resident                Complex. MEDIUM    Work Ph #
SSN          XXX-XX-XXXX                                 Cell Ph #
Gang                                                     E-Mail                                                      No Photo
Tattoo
Clothing                                                 Employer
GBM Id
-Entered    //
-Released / /                                            Occupation
OLN/State I                                              Addl Addr None
Injury




LACKAWANNA COUNTY DISTRICT ATTORNEYS OFFI(                     Page 2 of 4
Printed by: LISA BAUER (05/08/2014)
              Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 4 of 14
20146508M0131                14-9533                                          0619 - THEFT-$200 AND OVER-ALL OTHER

                                                    Main Narrative
                                                     DET. LISA BAUER (2)

      05/08/2014 10:45-2 DET. LISA BAUER

          On or about May 8, 2014, this Detective telephoned Attorney Amil Minora relative to a complaint Attorney
      Minora made at the Lackawanna County District Attorneys Office on May 6, 2014 on behalf of Med-Dev
      Corporation, relative to an alleged theft. Attorney Minora stated that in May 2012, Med-Dev Corp. was formed
      from an idea that Dr. Michael Moore came up with for a medical device which would be placed in the nose of a
      physician to prevent contracting the MRSA infection. Investors from various states put money into the Company,
      and Corporate Counsel, Joseph Tomasek, Esquire, suggested that they needed an experienced Chief Executive
      Officer (CEO) to move this product further and make it public. Attorney Tomasek suggested that the Board of
      Directors hire one Michael Martin to act as CEO because he had dealt with him in the past. Mr. Martin was hired
      as CEO and was a $15,000.00 per month consulting fee, and Thomas J. (T.J.) Finley was named President of
      the Corporation, and both Mr. Martin and Mr. Finley were issued Corporate debit cards for the Corporate account
      at PNC Bank, account #53-1375-7349 to be used for Corporate matters only.
         in April 2014, Mr. Finley was going over the Corporate books and found questionable transactions with the
      corpoate debit card issued to Mr. Martin. Mr. Finley looked into the matter further, and asked Mr. Martin about
      the withdrawals. Attorney Minora advise that the following actions were taken relative to the $2,500.00 payment:
         On February 14, 2013, a payment in the amount of $2,500.00 was made to the Law Firm of Mauro, Savo,
     Camerino, Grant, & Schalk (MSCGS) using the Med-Dev debit card that was Issued to Mr. Martin. Med-Dev had
     Attorney Tomasek as Corporate Counsel, so Mr. Finley asked Mr. Martin what that payment was for. Mr. Martin
     stated that the payment was a Med-Dev "start-up" legal expense, and he stated that Attorney Tomasek "farmed
     out" some legal work to MSCGS on behalf of Med-Dev.

        On March 5, 2014, AttorneyAmil Minora telephoned Charles Schalk, Esquire of (MSCGS), and requested that
     Attorney Schalk perform a "conflict and client search" of their Firm's records, and said search confirmed that
     MSCGS never performed any start-up or other legal work on behalf of Med-Dev Corp. During this telephone
     conversation, Attorney Schalk advised Attorney Minora that his Firm represented Mr. Martin for the start up of
     other companies, and Mr. Martin never paid his Firm, and that (MSCGS) filed a lawsuit against Mr. Martin on
     February 14, 2013 for $7,149.34. (`It Is to be noted that the $2,500.00 payment was made on the same date that
     the lawsuit was filed against Mr. Martin).

        On March 17, 2014, Attorney Minora conducted a conference call between Joseph Tomasek, Esquire and Mr.
     Finley, and during this telephone call, Attorney Tomasek confirmed that he personally performed ALL legal work
     on behalf of Med-Dev, and NEVER "subbed out" any work to any other law firm.
        Attorney Minora then stated that the next questionable withdrawal was made on February 25, 2013, in the
     amount of $4,000.00, using the debit card issued to Mr. Martin. This withdrawal was made at a PNC Bank
     branch located in Sterling, Virginia, and Attorney Minora stated that the payee on the withdrawal was "Scotland
     Yarns, LLC", 49478 Mid Surrey Square, Sterling, Virginia 20165. Attorney Minora advised that the address is the
     same as Mr. Martin's home address, and that Med-Dev has no relationship with "Scotland Yards LLC".
        The next questionable withdrawal was made on June 3, 2013 in the amount of $10,000.00 at the Wells Fargo
     branch store in Sterling, Virginia, and on June 10, 2013, Mr. Martin transferred his actual $15,000.00 consulting
     fee via telephone, into his PNC Bank account # ending 3947.

        Attorney Minora stated that after that $10,000.00 withdrawal was made, but prior to Mr. Finley knowing about
     the withdrawal, Mr. Finley and Mr. Martin were driving to New Jersey on business, and Mr. Martin told Mr. Finley
     that he had loaned Attorney Tomasek $10,000.00, and he believed that Attorney Tomasek was trying to avoid
     him, and he went on sort of a rant about Attorney Tomasek not paying him back yet. Mr. Finley told Mr. Martin
     that it wasn't his business, and that he didn't want to discuss it with Mr. Martin.
         After Mr. Finley became aware of the $10,000.00 withdrawal, he recalled Mr. Martin's conversation about
      loaning Attorney Tomasek the money, and he spoke with Attorney Tomasek and asked him if Mr. Martin had
      loaned him $10,000.00. According to Attorney Minora, Attorney Tomasek told Mr. Finley that Mr. Martin did loan
      him $10,000.00 around the end of May 2013, but that he paid him back the $10,000.00 around November 2013.

LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFIC                P age 1 of 2
          Case
20140508MO131        3:15-cv-01620-RDM
                           14-9533
                                       Document 1-3 Filed 08/20/15 Page 5 of 14
                                                                                  0619 - THEFT-$200 AND OVER-ALL OTHER

                                                       Main Narrative
                                                        DET. LISA BAUER (2)

      Attorney Minora advised that if this $10,000.00 was taken from the Corporation by Mr. Martin to loan to Attorney
      Tomasek, the Board never authorized that transaction, and there is no deposit of $10,000.00 back Into the
      Med-Dev's account in November 2013.

         It is to be noted that there were several other charges totaling an amount in excess of $70,000.00 on the debit
      card issued to Mr. Martin, that the Board feels are questionable, but upon review of that information, and upon
      speaking with Attorney Minora, it is believed that those issues are probably civil in nature, and do not rise to the
      level of criminal activity.

         Upon review of all of the questionable charges, the Board confronted Mr. Martin about the unauthorized use of
      the Company debit card, and asked for Mr. Martin's resignation. On April 19, 2014, Mr. Martin submitted his
      resignation letter as Chief Executive Officer, and Chairman of the Board.

          On April 29, 2014, a special emergency meeting of the Med-Dev Corp. Board of Directors was held
      telephonically to discuss the unauthorized use of the debit card that was assigned to Mr. Martin, to formally
      accept Mr. Martin's resignation, and to call for a vote to add George J. Albanese to fill the position vacated by Mr.
      Martin's resignation as a member of the Med-Dev Board of Directors.

          Attorney Mlnora further advised this Detective that Mr. Finley had found that Mr. Martin was arrested for Theft
      By Deception in Bergen County, New Jersey on or around May 2009, and Mr. Martin had failed to disclose that
      information when he was hired.

          On May 7, 2014, this Detective conducted a criminal history check of Mr. Martin and found that he was in fact
      arrested on May 7, 2009 by the Bergen County, New Jersey Prosecutor's Office. The charges filed were Theft By
      Deception, Document Deception, and Misconduct by a Corporate Official, and the record appears to show that all
      of the charges were dismissed except for the Theft By Deception charge.




LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFII                  Page 2 of 2                                                      a
           Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 6 of 14
20140508M0131               14-9533                                            0619 - THEFT-$200 AND OVER-ALL OTHER

                                            Supplemental Narrative
                                                     DET. LISA BAUER (2)

    SUPPLEMENTAL 06/09/2014 11:07-2 DET. LISA BAUER
       On May 13, 2014, this Detective made application for a search warrant for all bank records from June 1, 2012
    to May 1, 2014 in the name of Michael Martin or Scotland Yarns from PNC Bank. On duty Magistrate Shawn
    McGraw approved said search warrant.
       Also on May 13, 2014, this Detective made application for a search warrant for all bank records from June 1,
    2012 to May 1, 2014 for Med-Dev Corp from PNC Bank. Magistrate Shawn McGraw also approved this search
    warrant.
        Further, on May 13, 2014, this Detective served the above search warrants on Linda Nese, AVP Assistant
     Branch Manager of PNC Bank located at 201 Penn Avenue, Scranton, PA 18503. On or about May 19, 2014, this
     Detective received the requested bank records via U.S. Mail.
        Upon review of the records from Med-Dev Corp. and Scotland Yams bank accounts, this Detective found that
     on February 14, 2013, Mr. Martin did in fact use the Med-Dev debit card to pay attorney fees owed to Mauro,
     Savo, Camerino, Grant & Schalk Law Firm which was not authorized by Med-Dev.
        Also, a check of Med-Dev's and Scotland Yams' bank account records confirms that on February 25, 2013
     there was a withdrawal of $4,000.00 from Med-Dev Corp. which was deposited into the Scotland Yarns account
     on the same date. The withdrawal slip has the name of Michael Martin on it.
        A further check of the Scotland Yam's account shows that on May 13, 2013, there was a Federal Wire
     Transfer out of the account in the amount of $10,500.00. On May 20, 2013, there was another Federal Wire
     Transfer out of the Scotland Yarn's account In the amount of $10,500.00, and on November 25, 2013, there was
     a Federal Wire Transfer into the Scotland Yarns account in the amount of $10,000.00. One of the wire transfers
     out in May, and the wire transfer In, in November, fits the time frame Attorney Tomasek says he received the
     $10,000.00 loan from Mr. Martin, and the time frame when he says he paid Mr. Martin back the $10,000.00. This
     Detective told Mr. Finley that these transactions match the dates of the loan to Mr. Tomasek and the repayment
     of the loan to Mr. Martin, and that these funds came from Scotland Yarns account, not Med-Den's account, and
     Mr. Finley stated that he was never really sure about the $10,000.00 loan, and agreed that that Issue of the loan
     is now cleared up.
        On or about May 27, 2014, this Detective received a telephone call from Attorney Frank Nocito who advised
     that he Is representing Michael Martin. Attorney Nocito advised that he was going to call AttorneyAmil Minora,
     and asked if this Detective would hold off on filing charges until he speaks with Attorney Minora and the victims to
     see if they can resolve the matter. At that time, this Detective faxed a copy of the application and affidavit for
     search warrant to Attorney Noclto.
        Also on May 27, 2014, this Detective received a telephone call from Attorney Minora. Attorney Minora advised
     that he received a call from Attorney Noclto, and that Attorney Nocito scheduled a meeting for June 9, 2014 to
     see If they can resolve the matter prior to charges being filed.




LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFI(                  Page 1 of I
           Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 7 of 14
20140508M0131                14-9533                                             0619 -THEFT-$200 AND OVER-ALL OTHER

                                              Supplemental Narrative
                                                       DET. LISA BAUER (2)

     SUPPLEMENTAL 09/02/2014 14:02 -2 DET. LISA BAUER


         On September 2, 2014, at approximately 9:45 AM, this Detective received a faxed letter from Attorney Henry
     Hockeimer, 1735 Market Street, 51st Floor, Philadelphia, PA 19103; (215) 665-8500. In said letter, Attorney
     Hockelmer advises that he was recently retained by Michael Martin and he is In the process of reviewing
     documents relative to the matter. Attorney Hockelmer further states in the letter that he is concerned that
     assistance from law enforcement may have been sought by the victims in this case In order to gain an advantage
     in a civil dispute between Mr. Martin and Med-Dev.

       Also on September 2, 2014, at approximately 1:45 PM, this Detective telephoned Attorney Hockeimer and
     spoke with him relative to the Michael Martin Investigation. This Detective asked Attorney Hockeimer's If there
     was a civil lawsuit filed in this matter that I was not aware of, and he stated that to his knowledge, there Is not.

        This Detective gave Attorney Hockeimer a synopsis of the case, and advised that back In May 2014, Attorney
     Amil Minora and Mr. Finley requested that an investigation be conducted Into whether Mr. Martin misappropriated
     funds from Med-Dev. This Detective also told Attorney Hockelmer that at some point after serving the search
     warrant, this Detective received a call from Attorney Frank Nocito who advised that he was representing Mr.
     Martin, and asked if this Detective would hold off on filing any charges so that he can attempt to resolve the
     matter with Attorney Minora and the victims. This Detective told Attorney Hockeimer that I agreed to hold off to
     see if the case could be resolved, and that I have not heard anything further until receiving a phone call from Mr.
     Finley on Friday, August 26, 2014, wherein Mr. Finley advised that they are unable to come to a resolution, and
     asked that the criminal case proceed.

       • Attorney Hockeimer stated that he agrees with attempting to come to a resolution in cases, but he feels that
     the victims In this case are not just attempting to work out the amounts In question, but and are using the criminal
     justice system to try to get more. This Detective told Attorney Hockeimer that I am unaware of what the parties
     discussed to try to resolve the case, but that I did know that Attorney Nocito had been speaking with the victims.

        Attorney Hockeimer advised this Detective that Mr. Martin is coming into his office to meet with him in the next
     few days so he can get a better understanding of the case. Attorney Hockeimer also advised that he will call this
     Detective after meeting with Mr. Martin, and may want to set up a date and time to bring Mr. Martin into the
     District Attorney's Office for an interview with this Detective.




LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFI(                  Page 1 of 1
             Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 8 of 14
 20140 50 8 M 0131             14-9533                                            0619 - THEFT-$200 AND OVER-ALL OTHER

                                               Supplemental Narrative
                                                        DET. LISA BAUER (2)

       SUPPLEMENTAL 09/04/2014 15:01 -2 DET. LISA BAUER


          On September 4, 2014, at approximately 10:00 AM, this Detective received a telephone call from Attorney
       Hockeimer, who left a voice message stating that he had met with Michael Martin, and that he would like to
       speak with this Detective regarding their meeting. At approximately 10:15 AM, this Detective returned Attorney
       Hockeimer's call at (215) 864-8204, and spoke with him. Attorney Hockeimer stated that upon meeting with Mr.
       Martin, it is his opinion that he does not believe that Mr. Martin committed any criminal acts, and advised that he
       was going to fax a letter to this Detective that explains why he feels that way.

          Also on September 4, 2014, at approximately 11:55 AM, this Detective received the faxed letter from Attorney
      Hockeimer regarding Mr. Martin. Attorney Hockelmer states in his letter that in regards to the $2,500.00 payment
      on February 14, 2013 to the law firm of Mauro, Savo, Camerino, Grant and Schalk, using Med-Dev's debit card,
      "this was not an act of theft by Mr. Martin. It was simply an honest mistake." Attorney Hockeimer further stated
      in his letter that Mr. Martin made this mistake because he and Attorney Tomasek were involved In other
      businesses, and Mr. Martin promptly informed Attorney Tomasek, Med-Dev's attorney, of the mistake. Attorney
      Hockeimer supplied this Detective with a copy of an email from Mr. Martin to Attorney Tomasek dated March 25,
      2014, wherein Mr. Martin tells Attorney Tomasek that he mistakenly thought that the $2,500.00 bill from
      Tomasek was for payment for work that was done for the formation of Med-Dev.

        Further, Attorney Hockeimer stated that in regards to the $4,000.00 withdrawal, Scotland yarns, LLC is Mr.
      Martin's entity, and was not a theft. He stated that Mr. Martin and Mr. Finley both executed consulting
      agreements with Med-Dev in December 2012, and as delineated In their agreement, Mr. Martin was entitled to a
      monthly consulting fee as compensation, and this was part of his fee. He added that the same amount was
      deposited In January 2013 and Mr. Finley saw the bank records and never raised an issue.

          Finally, Attorney Hockeimer attached a copy of the settlement agreement that Med-Dev wanted Mr. Martin to
      sign, and states "there Is no mention in the Settlement Agreement regarding the $2,500 payment or the payments
      to Scotland Yarns. The focus of the Settlement Agreement is on Mr. Martin surrendering his shares of stock in
      Med-Dev in exchange for no criminal prosecution."

         Also on September 4, 2014, at approximately 9:45 AM, this Detective telephoned Mr. Finley and asked that he
      have Med-Day's corporate Attorney, Joseph Tomasek, Esquire, contact this Detective so this Detective can
      speak with him. Mr. Finley stated that he would have him contact me.

          On September 4, 2014, at approximately 10:15 AM, this Detective received a phone call from Attorney
      Tomasek. This Detective asked Attorney Tomasek what his connection was with Med-Dev, and Michael Martin.
      Attorney Tomasek advised that he is a corporate attorney, and does corporate work for Med-Dev, and Michael
      Martin. He stated he has known Mr. Martin for approximately twenty-five (25) years, and he does now, and has
      done corporate work in the past, for various businesses owned by Mr. Martin. This Detective asked Mr. Tomasek
      if he was aware of an issue raised about Mr. Martin using Med-Dev funds to pay a law firm by the name of
      Mauro, Savo, Camerino, Grant, & Schalk, and Attorney Tomasek stated that it was brought to his attention when
      an Attorney Charles Schalk of Mauro, Savo called him and told him that Attorney Amil Minora had called him and
      asked if their firm did any start-up work for Med-Dev. Attorney Tomasek stated that Mauro Savo never did work
      for Med-Dev, but that Attorney Tomasek did farm out work to Mauro Savo for other businesses owned by Mr.
      Martin, so it was common for Attorney. Tomasek to toward Invoices to Mr. Martin on behalf of Mauro Savo.
      Attorney Tomaske added that he shares office space with Mauro Savo. Attorney Tomasek then advised that
      when Mr. Martin was confronted with the $2,500.00 payment, he immediately sent an email, and made Attorney
      Tomasek aware that he mistakenly thought the payment was for work that Attorney Tomasek did for Med-Dev.
      Attorney Tomasek further stated that he does believe that It was an honest mistake by Mr. Martin, and could have
      been an easy mistake to make since they were dealing with various businesses.

         This Detective then inquired about the $10,000.00 loan that Mr. Martin gave to Attorney Tomasek back in May
      2013. Attorney Tomasek advised that he needed the money to catch up on taxes he owed, and Mr. Martin
      loaned him $10,500.00. He added that the check had the name Scotland Yarns on it, not Med-Dev, so he knows
      that the funds came out of Mr. Martin's account, not Med-Dev's. Attorney Tomasek then added that Mr. Martin
      owed Plauro Savo money for an outstanding bill, so when repaying the loan, he first paid the money owed to

LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFI(                 -Page I of 2
20140508M0131Case      3:15-cv-01620-RDM
                            14-9533      Document 1-3 Filed0619
                                                            08/20/15    Page   9 of 14
                                                                - THEFT-$200 AND OVER-ALL OTHER

                                             Supplemental Narrative
                                                     DET. LISA BAUER (2)

      Mauro, Savo, and then gave Mr. Martin the remaining amount he owed him for the loan.
         Attorney Tomasek added that he feels that there is something personal going on with Mr. Finley and Mr. Martin
      because it seems like Mr. Finley came after Mr. Martin with a vengeance demanding a criminal investigation
      instead of coming to Attorney Tomasek and asking him to look Into the matter and try to work it out. He added
      that things with Mr. Martin and Mr. Finley seemed to be going great, and then Mr. Martin told Mr. Finley that
      Med-Dev needed someone else with experience to come In, and Attorney Tomasek feels that Mr. Finley thought
      that Mr. Martin was trying to get rid of him, and maybe that's why he is taking this situation to the extreme.
          This Detective then asked Attorney Tomasek if he was aware of the circumstances wherein Theft charges
      were filed against Mr. Martin in Bergen County, New Jersey. Attorney Tomasek stated that he knows exactly
      what happened there. He stated that about seven (7) years ago, Mr. Martin "pissed off" an investor who put
      around $500,000 or $1,000,000 into one of Mr. Martin's companies. Mr. Martin secured money as a loan and
      said he had a certain amount of collateral which he found out he didn't actually have, and the investor knew
      someone in the prosecutor's office and he was arrested. Attorney Tomasek added that the charges against Mr.
      Martin were eventually dismissed against him.




                             C      nu
LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFI(               Page 2 of 2                                                    I
             Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 10 of 14
20140508MO131                14-9533                                            0619 - THEFT-$200 AND OVER -ALL OTHER

                                             Supplemental Narrative
                                                       DET. LISA BAUER (2)

        SUPPLEMENTAL 09/24/201411:35-2 DET. LISA BAUER

        On September 22, 2014, at approximately 10:30 AM, Michael Martin came into the Lackawanna County
     District Attorney's office to meet with this Detective. Present with Mr. Martin was his attorney, Henry
     Hockeimer, Esquire. At approximately 10:35 AM, this Detective read Mr. Martin his Miranda Warnings, and Mr.
     Martin signed a Waiver form in the presence of Attorney Hockeimer, and agreed to speak with this Detective.

        Mr. Martin stated that he met T.J. Finley in Hazleton, Pennsylvania, where Mr. Finley was representing a
     client. Around August 2011, Mr. Martin received several telephone calls and emails from Mr. Finley asking Mr.
     Martin if he would meet with him about getting involved in a product invented by Dr. Michael Moore. Mr.
     Martin stated that Mr. Finley explained that he does not have a background in this sort of thing, and he would
     like Mr. Martin's help. Mr. Martin explained that he has an extensive background into silver leaching which
     was the process Mr. Finley told him was going to be used.

        Around October 2011, Mr. Finley told Mr. Martin that Dr. Michael Moore Invented a product that would
     eliminate nasal MRSA colonization. Mr. Finley asked Mr. Martin to come up and have dinner at with Mr. Finley
     and Dr. Moore. Mr. Martin stated that he did meet with them, and at that time, Dr. Moore had a crude
     product. Mr. Martin called a friend of his, Dr. William Peters from Ambien Island Florida, and after explaining
     the product, which would sit on the bridge of the nose, Dr. Peters felt that it was a good product, but that he
     believed that they would have a problem getting FDA approval because they were using a silver approach. Mr.
     Martin explained that using silver would kill the MRSA colonization by destroying the outer wall of the bacteria.

         Around October 2013, Mr. Martin brought Attorney Joseph Tomasek, who he has known for approximately
      thirty (30) years, in to write up an exclusive licensing deal between Diamond Capital (Mr. Martin's business),
      and Dr. Michael Moore. Mr. Martin advised that Diamond Capital is a business in New Jersey set up by Mr.
      Martin and designed to work on deals like Med-Dev. Mr. Martin stated that Attorney Tomasek drew up the
      memorandum, and Mr. Martin gave the memorandum to Mr. Finley to forward to Dr. Moore. He added that
      the agreement said that Martin has the full authority to develop the product as he sees fit. Mr. Martin added
      that if the product was successful, Mr. Finley knew that he would be a founding partner in Med-Dev.

         At the onset, Mr. Martin started doing testing on the product with Dr. Peters at Mr. Martin's expense, and
      Mr. Martin stated that he initially spent approximately $30,000.00 to $40,000.00 of his own money. Mr.
      Martin believed that it was well worth spending his own money up front to see if the product was worth
      forming a Company.

        Mr. Martin stated that they used Clin Micro Labs out of Dunmore, PA to test the embedded silver to see if it
      was working. During the testing process, the product was starting to show promise, and Clin Micro Labs built a
      mold for them.

         Around July 2012, Mr. Martin obtained the first investor for the product. The investor was Ned Lipes who
      was the former Chief Executive Officer of "Stryker", one of the top medical companies in the world. Mr. Martin
      stated that he built a relationship with Mr. Lipes, and golfed with him at the Ridgewood Country Club, and he
      told him about the product. When Mr. Martin told Mr. Lipes about the product, Mr. Lipes told Mr. Martin that
      he has been retired, and has not been investing in anything, and that this product is the first thing he is going to
      invest in. Mr. Lipes subsequently invested $100,000.00.

        Around July or August 2012, Mr. Lipes told Mr. Martin to call Greg Rainey and tell him about the product.
      Mr.`M rtin call Mr. Rainey and told him that Mr. Lipes invested in the product, and asked Mr. Rainey to take
      L             C     /\,, n


LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFIt                 Page 1 of 4
          Case
2014Q508MO131       3:15-cv-01620-RDM
                           14-9533    Document 1-3 Filed 08/20/15    Page 11 of 14
                                                           0619 - THEFT-$200 AND OVER-ALL OTHER

                                             Supplemental Narrative
                                                      DET. LISA BAUER (2)

      a look at the product and think about investing. Subsequently, Mr. Rainey invested $100,000.00 into the
      product.

         Mr. Martin then spoke with Rick Minero and asked him to take a look at the product, and Mr. Minero and
      his brother ended up investing a total of $150,000.00 into the product.

        Mr. Martin advised that by November 2013, a total of approximately $1.2 million came in, and all of this
      money was from people he brought in to invest, and money that he put in on his own.

         Mr. Martin added that Mr. Finley was the President of Med-Dev, and Mr. Finley's duties were to take care of
      the check books, all investment money coming in, expenses, and balancing the books on a monthly basis. He
      added that he (Mr. Martin) was the Chairman of the Board, and his duties were to bring in investors and work
      on testing of the products.

         Mr. Martin stated that around December 2013, Mr. Martin told Mr. Finley that Attorney Tomasek's friend
      was talking about possibly investing $2 million dollars in the Company, and Mr. Martin asked Mr. Finley for a
      balance sheet. Mr. Martin advised that Mr. Finley provided a poor balance sheet that didn't make sense, so
      Mr. Martin told Mr. Finley that the balance sheet didn't make sense, and had to ask for a new balance sheet.

        Mr. Martin stated that the Company began launching a new hand sanitizer. Mr. Martin, Mr. Finley, Dr.
      Moore, Dr. Peters, and Mark Heller were mapping out their strategy, and Mr. Heller said he wanted them to
      move onto human testing with the product. Dr. Moore wrote up protocols, but for some reason, wouldn't
      distribute them to anyone but Mr. Finley. Mr. Martin began speaking with Blue Cross/Blue Shield (BC/BS) of
      Northeastern PA about possibly investing in the hand sanitizer, and they were deciding whether or not to
      invest. Shortly thereafter, the BC/BS Pittsburgh branch bought out the Northeast PA branch, and Mr. Martin
      started dealing with Bruce Sickel who was the Vice President of BC/BS. Mr. Sickel stated that Dr. Moore had
      an anti dilution clause that stated that Dr. Moore's ownership could not fall below 12%, and Mr. Sickel advised
      that institutions will not invest with such a clause in place. Dr. Moore and Mr. Finley then came to an
      agreement with BC/BS that once the Company got $2 million, there would no longer be an anti dilution clause.

         Around August 2013, Mr. Finley and Dr. Moore told Mr. Martin that Dr. Moore's attorney advised him not to
      agree with removing the anti dilution clause . Mr. Martin told him that it was a bad idea to keep the clause
      because institutional investors would not get involved in the Company. Mr. Martin feels that Dr. Moore
      interpreted it like Mr. Martin was trying to "screw" him. Shortly thereafter, Mr. Martin called Eric Cuchesky
      and asked if he would be interested in being the Chief Operating Officer for the Company. Mr. Martin stated
      that he told Mr. Finley, and stated "Finley went crazy, and things got tense with Ti Finley".

         In December 2013, Mr. Martin was ready to close a deal with a Company named Surewash for the hand
      sanitizer. On January 8, 2014, Mr. Finley decides that they do not want to move forward with the agreement
      because he felt that it was not in the best interest of Med-Dev. Mr. Finley stated It is because of
      Non-exclusivity, the upfront purchase of 3 new model/units all at the risk of Med-Dev, and access to their
      market and Distribution Channel with all of the expenses being borne by Med-Dev.

        Mr. Martin then advised that he brought in a friend of his, George Albanese, who was a co founder of
      Med-Dev, and not a Board member. He stated that Mr. Albanese brought contacts to the area, but his wife
      Lois was very ill, and his main focus was his wife's health, and caring for her. At a board meeting in January
      2014, Mr. Albanese was a guest , and Mr . Finley stated that he wanted to nominate Mr . Albanese to be a Board
      Membe Mr. Martin said they should do it right and check with Delaware Law because it wasn't on the
                                                        l_ ~ nlci
LACKAWANNA COUNTY DISTRICT ATTORNEYS OFFIC                 Page 2 of 4
             Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 12 of 14
 20140508M0131                14-9533                                            0619 - THEFT-$200 AND OVER-ALL OTHER

                                              Supplemental Narrative
                                                       DET. LISA BAUER (2)

      agenda for that meeting. Mr. Finley forced a vote anyway, and Mr. Albanese became a Board member. Mr.
      Martin stated that Mr. Finley told Mr. Albanese that Mr. Martin didn't want him involved in the Company
      anymore, which Mr. Martin stated was not true; that he just wanted to make sure they did it the right way.
      Mr. Martin stated that he believes that Mr. Finley said that to Mr. Albanese to turn Mr. Albanese against Mr.
      Martin.


         The day after the meeting, Mr. Martin received an email from Wells Fargo Bank advising him that the
      Med-Dev checking account was closed. Mr. Martin asked who closed the account, and he was informed that
      Mr. Finley closed the account. Mr. Martin called Mr. Finley and asked him why he didn't tell him that he was
      closing the account, and Mr. Finley told Mr. Martin that he (Finley) now has control of the Board, and is
      running the Company. Mr. Martin asked Mr. Finley what happened to the $340,000.00 that was in the
      account, and Mr. Finley said, "none of your business." Mr. Martin called an attorney in Delaware and advised
      him of the situation, and the attorney told him that what Mr. Finley did is illegal and that charges could be filed
      against him. Mr. Martin stated that he told the attorney that he did not want to have charges filed against Mr.
      Finley.

         Mr. Martin advised that Mr. Rainey then met with Mr. Finley at the request of Mr. Lipes to see what was
      going on with the Company. Mr. Martin stated that Mr. Finley told Mr. Rainey that he could not answer any
      questions on the advice of his attorney. Mr. Martin then stated that he (Martin) told Attorney Tomasek that he
      wanted to save the Company, and told Attorney Tomasek that he (Martin) will resign from the Board if the
      Company would accept Mr. Nipes and Mr. Rainey on the Board. Mr. Martin advised that he did resign from the
      Company, and has no ties with the Company other than his ownership of stock that Mr. Finley is trying to get
      from him.

         This Detective asked Mr. Martin about the $2,500.00 that was paid to Mauro/Savo from the Med-Dev
      account. Mr. Martin stated that he had several dealings with Attorney Tomasek in various businesses, and
      when he received the invoice from Attorney Tomasek, he mistakenly thought the invoice was for work done for
      Med-Dev. He added that as soon as this mistake was brought to his attention, he went to Mauro/Savo and
      looked at the invoice, and then he Immediately sent an email to Attorney Tomasek advising him that he made
      the mistake.

         This Detective asked Mr. Martin about $24,689.86 that was paid to Blue Cross/Blue Shield for his insurance
      benefits. Mr. Martin stated that Mr. Finley was well aware that Med-Dev was paying for his benefits because
      he discussed it with Mr. Finley, and Mr. Finley approved it. Mr. Martin added that when he and Mr. Finley
      spoke about the benefits, Mr. Finley told him that he (Finley) did not need benefits because his wife is a
      teacher and he was on his wife's insurance. Mr. Martin advised that his insurance was paid monthly from the
      Med-Dev account, and Mr. Finley knew this, and reviewed the monthly statements. Mr. Martin added that
      druing one month, Mr. Finley even wired money into the account to cover Mr. Martin's insurance payment
      because there wasn't enough money in that account.

         This Detective then asked Mr. Martin about the $23,266.93 of Med-Dev money that was spent at Baltusrol
      Country Club in New Jersey from October 1, 2012 through December 31, 2013. Mr. Martin stated that Mr.
      Finley and Dr. Moore were well aware that he had many sales meetings there, and that he would meet
      investors or potential investors there, and they would play golf at the expense of Med-Dev. Mr. Martin stated
      that Mr. Finley was there with him during most of these meetings and Dr. Moore and Dr. Peters were there on
      occasions too. Mr. Martin stated that it was entertainment expenses that Mr. Finley was well aware of.

        This,Dgjtective then asked Mr. Martin about $577.80 that was spent for wine for Dr. Peters. Mr. Martin


LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFIt                 Page 3 of 4                                                     2t`
           Case
 20140508MO131       3:15-cv-01620-RDM
                            14-9533    Document 1-3 Filed 08/20/15   Page 13
                                                           0619 - THEFT-$200  of OVER-ALL
                                                                             AND 14       OTHER

                                               Supplemental Narrative
                                                         DET. LISA BAUER (2)

      stated that Dr. Peters and his wife met them in Napa, California because Dr. Peters missed out on a lot of
      meetings, and they were invited to Michael Chiarello's house (owner of Bottega Restaurant), and had a private
      wine tasting. Mr. Martin stated that he told Mr. Peters to let Med-Dev buy him a case of wine since he has
      been doing so much for the Company. Mr. Martin added that this was also an entertainment expense for
      Med-Dev business.

        This Detective asked Mr. Martin about $295.47 of Med-Dev funds used to buy a Blackberry phone. Mr.
      Martin advised that he used his phone for Med-Dev business, and one day, his granddaughter jumped into a
      pool, and he jumped in to get her, and his phone was ruined. He stated that he then purchased a new phone,
      and that phone was used for Med-Dev business.

        This Detective then asked Mr. Martin about $346.49 of Med-Dev money used to purchase a laptop. Mr.
      Martin advised that he used the laptop for Med Dev presentations, not for personal use. He added that he also
      bought an Asus tablet and an adaptor for a laptop with Med-Dev funds that he also used for Med-Dev
      presentations.

         This Detective then discussed the $10,000.00 that was withdrawn from the Med-Dev account that Mr.
      Finley thought may have been a loan to Attorney Tomasek. Mr. Martin stated that he was supposed to receive
      $15,000.00 per month in consulting fees, a total of $180,000.00 for the year 2013, and he only received
      $172,000.00 total, including that $10,000.00. Mr. Martin stated that he does not understand how Mr. Finley
      can say that he took any money that did not belong to him when he actually received less than his agreed upon
      fee.

         Mr. Martin ended by stating that he only used Med-Dev money to pay for Company Business, and never
      took any money, or used any of the Company's money to pay for anything personal. Mr. Martin added that he
      does fine, and makes plenty of money, and does not need to steal to survive.

         At this time, this Detective asked Attorney Hockeimer if he has spoken with Attorney Amil Minora about this
      situation. Attorney Hockeimer stated that he sent a letter to Attorney Minora, but did not hear back from him.
      Attorney Hockeimer added that after reading the agreement that Attorney Minora wanted Mr. Martin to sign,
      he believes that Attorney Minora is attempting to use the criminal justice system to pressure Mr. Martin into
      turning over all of his Med-Dev stock.

         Attorney Hockeimer then asked this Detective what the next step was going to be, and this Detective
      advised that I would type a report of my interview with Mr. Martin, and then forward the report to District
      Attorney Jarbola for review, and that the District Attorney will advise if he believes the case is civil or criminal in
      nature.




LACKAWANNACOUNTY DISTRICT ATTORNEY'S OFFI(                    Page 4 of 4
            Case 3:15-cv-01620-RDM Document 1-3 Filed 08/20/15 Page 14 of 14
20140508MO131               14-9533                                            0619 - THEFT-$200 AND OVER- ALL OTHER

                                            Supplemental Narrative
                                                      DET. LISA BAUER (2)

     SUPPLEMENTAL 10/01/201409:28-2 DET. LISA BAUER


        On or about September 25, 2014, District Attorney Andy Jarbola, III advised this Detective that the
     investigation lacks sufficient evidence to proceed with criminal charges.

         On September 30, 2014, this Detective notified Henry Hockeimer, Esquire of the District Attorney's decision,
     and advised that this Detective will be closing out the case. Attorney Hockeimer advised that he would inform his
     client, Michael Martin, of the same.

         For the above reason, no further reports will be forthcoming in this matter unless new and pertinent
     information arises.




LACKAWANNA COUNTY DISTRICT ATTORNEY'S OFFI(                Page 1 of 1
